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                                                                        2022 Apr-15 PM 06:33
                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

MORISSA J. LADINSKY, M.D.,
F.A.A.P.; HUSSEIN D. ABDUL-
LATIF, M.D.; ROBERT ROE,
individually and on behalf of his minor
child, MARY ROE; and JANE DOE,               Civil Action No. 2:22-CV-447-
individually and on behalf of her minor      ACA
child, JOHN DOE.

                                             PLAINTIFFS’ NOTICE OF
      Plaintiffs,                            VOLUNTARY DISMISSAL
                                             PURSUANT TO FED. R.
                                             CIV. P. 41(a)(1)(A)(i)
v.


KAY IVEY, in her official capacity as
Governor of the State of Alabama;
STEVE MARSHALL, in his official
capacity as Attorney General of the
State of Alabama; JILL H. LEE, in her
official capacity as District Attorney for
Shelby County; and DANNY CARR, in
his official capacity as District Attorney
for Jefferson County.


      Defendants.
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     PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT
           PREJUDICE PURSUANT TO RULE 41(a)(1)(A)(i)

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs hereby

provide notice of their voluntary dismissal, without prejudice, of all claims against

Defendants in this action.

                                Respectfully submitted on April 15, 2022.

                                /s/ Melody H. Eagan
                                Melody H. Eagan (ASB-9780-D38M)
                                Jeffrey P. Doss (ASB-4212-R62D)
                                Amie A. Vague (ASB-4113-Q46I)
                                LIGHTFOOT, FRANKLIN & WHITE LLC
                                The Clark Building
                                400 20th Street North
                                Birmingham, AL 35203
                                205.581.0700
                                meagan@lightfootlaw.com
                                jdoss@lightfootlaw.com
                                avague@lightfootlaw.com




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                         CERTIFICATE OF SERVICE

      I certify that on this 15th day of April 2022, I served the foregoing document

via ECF on counsel for the Defendants.


                                /s/ Melody H. Eagan
                                Attorney for Plaintiffs




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